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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA
GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v. cASENO. |:22¢¥ FY Aw / OCT

PATRICK PARKER WALSH
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STATEMENT OF FACTS

The parties agree with the truthfulness of the following factual basis for the
Defendant’s guilty plea. The undersigned parties further agree that not all of the
facts known from this investigation are contained in this brief summary. Defendant
admits that, if this case were to proceed to trial, the Government could prove the

following facts beyond a reasonable doubt:

FRAUDULENT PAYCHECK PROTECTION PROGRAM
LOAN APPLICATIONS

Patrick Walsh (“WALSH”) prepared or caused to be prepared multiple false
Paycheck Protection Program (“PPP”) loan applications in the names of multiple
business entities, some of which had been dormant or inactive at the time of the PPP
loan application or until just prior to the application being submitted. WALSH also
submitted, or caused to be submitted, the false PPP loan applications, along with
false supporting documentation, to various financial institutions and other

businesses for the purpose of fraudulently obtaining PPP loan proceeds. In all PPP

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loan applications, the small business (through its authorized representative) was
required to certify, among other things, its: (a) average monthly payroll expenses,
and (b) number of employees. These figures were used to calculate the amount of
money the small business was eligible to receive under the PPP. In addition,
businesses applying for a PPP loan were required to provide documentation showing
their payroll expenses, and that they were in business as of February 15, 2020.

Walsh made all of the false representations described herein with actual
knowledge that the statements were false, and submitted all of the false documents
described herein with actual knowledge that the documents were false. Walsh did
so specifically to induce the recipient financial institutions, and the SBA, to approve
his loan applications and issue SBA-backed loans to his businesses and ultimately
to Walsh himself, correctly understanding that these false representations and false
documents went to facts material to the issuance of those SBA-backed loans.

On April 7, 2020, WALSH, listed as the 100% owner of AIRSIGN INC,
AMERICAN BLIMP COMPANY LLC, and AIRSIGN AIRSHIP GROUP
fraudulently applied for PPP loans with J.P. Morgan Chase Bank (“Chase Bank”)
in the amounts of $1,313,092.00, $636,610.00, and $1,111,448.00, respectively. In
his PPP loan applications, WALSH falsely represented that AIRSIGN INC had 35
current employees and had an average monthly payroll expense of $525,237.00;

that AMERICAN BLIMP COMPANY LLC had 11 current employees and had an

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average monthly payroll expense of $254,644.00; and that AIRSIGN AIRSHIP
GROUP had 25 current employees and had an average monthly payroll expense of
$444,579.00. Neither of those PPP loan applications were approved or funded by
Chase Bank.
WALSH’s other fraudulent PPP loan applications are as follows:
AIRSIGN AIRSHIP ASIA PACIFIC LLC (AAAP)

On or about May 28, 2020, WALSH, listed as the 100% owner of AAAP,
fraudulently applied for a PPP loan with Liberty Bank. The loan was transferred to
Celtic Bank. Various false documents in support of the loan were also submitted
with the application. Some of those false documents included:

a. A PPP loan application digitally signed by WALSH falsely
stating that AAAP had 49 employees with an average monthly payroll of
$200,919.00. Based on this average monthly payroll figure reported by WALSH,
AAAP requested a PPP loan in the amount of $502,297.

b. | WALSH submitted false IRS Forms 941 for AAAP for the 2019
Quarters 2, 3 and 4 and the 2020 Quarter | tax periods. These IRS Forms 941 falsely
reported that AAAP had 51, 48, 35 and 49 employees with total quarterly wages of
$699,141.32, $523,345.74, $297,790.47 and $890,760.16, respectively. These

Forms 941 were all signed by WALSH. According to a search of records held by
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the Internal Revenue Service (“IRS”), these tax return forms were never submitted
to the IRS.

Ge WALSH provided what appears to be an internally-created
document titled “Payment Protection Plan Calculations.” This document falsely
listed 57 employees by name, job type and their average monthly salaries (the
submitted form had a numbering error in the left column which shows the number
49 at the last employee but after employee number 51 the numbering reverts back to
48 instead of 52). The average monthly salary for the 57 employees was
$369,765.46;numerous employees had an average monthly salary of $8,333.00. The
top of the page stated that any employee with a salary over $100,000 was reduced to
$100,000 (or $8,3333 per month) for the purpose of the calculation.

The Florida Department of Revenue (““FLDOR”) maintains records of wages
paid to employees by corporations in Florida. The FLDOR had no record of any
wages paid to employees of AAAP. The Florida Division of Corporations website
(SUNBIZ) shows that AAAP was reinstated as a Limited Liability Company (LLC)
in the State of Florida on or about April 30, 2020. Prior to this the last annual report
for AAAP filed with the State of Florida was on or about January 29, 2018.

Based on false representations made in the PPP loan application and the
supporting documents (described above), which included a gross overstatement of

the number of employees that AAAP had and their average monthly salary, Celtic

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Bank funded an SBA-backed loan to AAAP in the amount of $502,200.00. The
associated lender fee for this loan was $15,066.00, paid by the SBA on or about June
25, 2020, and the SBA made a guarantee purchase payment for this loan to Celtic

Bank on or about November 5, 2021.

AMERICAN BLIMP COMPANY LLC (ABC)

On or about April 30, 2020, WALSH, listed as the 100% owner of ABC,
fraudulently applied for a PPP loan with Celtic Bank. Various false documents in
support of the loan were also submitted with the application. Some of those false
documents included:

a. A PPP loan application DocuSigned!' by WALSH falsely stating
that ABC had 32 employees with an average monthly payroll of $201,967.60. These
figures were different than those included in WALSH’s PPP loan application for
ABC to Chase Bank on April 7, 2020 (as noted above). Based on this average
monthly payroll figure falsely reported by WALSH, ABC requested a PPP loan in
the amount of $504,919.00.

b. WALSH falsely submitted an IRS Form 941 for ABC for the first
quarter of 2020. This IRS Form 941 falsely reported that ABC had 51 employees

with total quarterly wages of $956,870.92. This form indicates it was signed by

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agreements. As part of the DocuSign Agreement Cloud, DocuSign offers eSignature, a way to

sign electronically on different devices.
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WALSH on or about April 1, 2020. According to a search of records held by the
Internal Revenue Service (“IRS”), this tax return form was never submitted to the
IRS.

c. | WALSH submitted an IRS Form 940 for ABC for the 2019 tax
year in which Walsh reported that the total payments to all employees of ABC during
the 2019 tax year was $96,876.12.

d. | WALSH provided what appears to be an internally-created
document titled “Payment Protection Plan Calculations.” This document falsely
listed 51 employees by name, job type and their average monthly salaries. The
average monthly salary for the 51 employees was falsely listed as $319,767.46.
Numerous employees had an average monthly salary of $8,333.00. The top of the
page stated that any employee with a salary over $100,000 was reduced to $100,000
(or $8,3333 per month) for the purpose of the calculation. When the AAAP and
ABC “Payment Protection Plan Calculations” documents are compared side by side,
the first 51 employees listed on the AAAP calculation document are the same
employees, with the same job title and the same salaries listed on the ABC document.

Based on misrepresentations made in the PPP loan application and the
supporting documents, which included a gross overstatement of the number of
employees that ABC had and their average monthly salary, Celtic Bank funded an

SBA-backed loan to ABC in the amount of $504,919.00. The associated lender fee

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for this loan was $15,147.57, paid by the SBA on or about June 19, 2020, and the
SBA made a guarantee purchase payment for this loan to Celtic Bank on or about
November 5, 2021.

WALSH FAMILY LAND CORP (WFLC)

On or about April 28, 2020, WALSH, listed as the 100% owner of WFLC,
fraudulently applied for a PPP loan with Liberty Bank. The loan was transferred to
Celtic Bank. Various false documents in support of the loan were also submitted
with the application. Some of those false documents included:

a. A PPP loan application DocuSigned by WALSH falsely stating
that WFLC had 10 employees with an average monthly payroll of $96,891.41.
Based on this average monthly payroll figure reported by WALSH, WFLC requested
a PPP loan in the amount of $242,228.52.

b. | WALSH submitted an IRS Form 940 for WFLC for the tax year
2019. This IRS Form 940 falsely reported that the total payments to all employees
of WFCL during the 2019 tax year was $871,885.08. This form indicates it was
signed by WALSH on or about January 28, 2020. According to a search of records
held by the Internal Revenue Service (“IRS”), this tax return form was never
submitted to the IRS.

ce On or about April 29, 2021, over a year after it was due and after

WALSH became aware of the federal investigation, the IRS received a 2019 Form

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1120S in the name of WFLC. This Form 1120S reported salaries and wages to
employees and compensation to officers that matched those reported on the WFLC
Form 940 submitted to Celtic Bank. However, no Forms 940 or 941 in the name of
WFLC for the tax year 2019 had been submitted to the IRS. Although WALSH
claimed salaries and wages and officer compensation in the amount of $871,885.00
on the 2019 tax return for WFLC filed after WALSH became aware of the
investigation, no Form W-2’s for 2019 for WFLC employees’ have been filed with
the IRS.

d. | WALSH provided what appears to be an internally-created
document titled “Payment Protection Plan Calculations.” This document falsely
listed 10 employees by name, job type and their average monthly salaries. The
average monthly salary for the 10 employees was falsely listed as
$77,913.99;numerous employees had an average monthly salary of $8,333.00. The
top of the page stated that any employee with a salary over $100,000 was reduced to
$100,000 (or $8,3333 per month) for the purpose of the calculation. When the
employees listed on the WFLC “Payment Protection Plan Calculations” document
are compared to the employees listed on the AAAP and ABC “Payment Protection
Plan Calculations” documents, 8 of the 10 listed employees share the same name,

job title and salary. The two employees listed on the WFLC document that were not

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listed on the ABC and AAAP documents were Hannah Walsh (Walsh’s wife) and
Adrian Walsh (Walsh’s son).

The Florida Department of Revenue (“FLDOR”) maintains records of wages
paid to employees by corporations in Florida. The FLDOR has no record of any
wages paid to employees of WFLC during the tax year 2019. The FLDOR noted
that WFLC became active on May 2, 2020 with quarterly filings for Q2 2020 and
Q3 2020. These quarterly filings reported between 0 and 4 employees, not the 10
employees listed in the PPP loan application. The Florida Division of Corporations
website (SUNBIZ) shows that WFLC was reinstated as a corporation in the State of
Florida on or about April 30, 2020. Prior to this the last annual report for WFLC
filed with the State of Florida was on or about October 19, 2018.

Based on representations made in the PPP loan application and the supporting
documents, which included a gross overstatement of the number of employees that
WELC had and their average monthly salary, Celtic Bank funded an SBA-backed
loan to WFLC in the amount of $242,200.00. The associated lender fee for this loan
was $12,110.00, paid by the SBA on or about June 22, 2020, and the SBA made a
guarantee purchase payment to Celtic Bank for this loan on or about November 1,

2021.
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AIRSIGN AIRSHIP GROUP LLC (AAG)

On or about July 17, 2020, WALSH, listed as the 100% owner of AAG,
fraudulently applied for a PPP loan with First Home Bank. Various false
documents in support of the loan were also submitted with the application. Some
of those false documents included:

a. A PPP loan application falsely stating that AAG had 48
employees with an average monthly payroll of $390,000.00. These figures were
different than those included in WALSH’s PPP loan application for AAG to Chase
Bank on April 7, 2020 (as noted above). Based on this average monthly payroll
figure falsely reported by WALSH, AAG requested a PPP loan in the amount of
$858,209.00.

b. | WALSH submitted false IRS Forms 941 for AAG for 2019
Quarters 1, 2,3 and 4. These IRS Forms 941 falsely reported that AAG had 49,
51, 44, and 35 employees with total quarterly wages of $765,861.42, $956,870.92,
$523,345.74 and $297,790.47, respectively. These Forms 941 were not signed.
According to a search of records held by the Internal Revenue Service (“IRS”),
these tax return forms were never submitted to the IRS.

& WALSH also submitted two identical 2019 Forms 1120S to
First Home Bank: one Form 1120S was for AAG and the other was for AIRSIGN

GROUP LLC (discussed below). The only difference between these two Forms

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1120S was the entity name and employer identification number. These Forms
1120S indicated that they were ink signed by WALSH and prepared by a Certified
Public Accountant (“CPA”) whose initials were J.D. and who was located in
Ocala, FL. Emails obtained from First Home Bank show that WALSH claimed
that the numbers were correct, but he would need time to correct the error with his
CPA. WALSH then withdrew the PPP loan application (as discussed below).
CPA J.D. was interviewed and stated that he never prepared either tax form for
WALSH. After these tax returns were submitted to First Home Bank, the IRS
electronically received a similar tax return for AAG but without J.D.’s signature;
because it was submitted to the IRS electronically, it was not ink-signed by
WALSH (as was the version received by First Home Bank). The Form 1120S
contained the same amount of revenue as the returns submitted to First Home
Bank. The Forms 1120S submitted to First Home Bank reported ordinary business
income of $3,779,124 however the Form 1120S submitted to the IRS reported
ordinary business income of $2,478,515.

d. | WALSH also provided what appears to be an internally-created
document titled “Payment Protection Plan Calculations.” This document falsely
listed 57 employees by name, job type and their average monthly salaries. The
average monthly salary for the 57 employees was listed as $369,765 .46;numerous

employees had an average monthly salary of $8,333.00. The top of the page stated

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that any employee with a salary over $100,000 was reduced to $100,000 (or
$8,3333 per month) for the purpose of the calculation. This is the exact same
“Payment Protection Plan Calculations” document that was submitted to Celtic
bank in support of the AAAP loan, which listed the same employees, job titles and
salaries.

The Florida Department of Revenue (“FLDOR”) maintains records of wages
paid to employees by corporations in Florida. The FLDOR has no record of any
wages paid to employees of AAG. The Florida Division of Corporations website
(SUNBIZ) shows that AAG was reinstated as a Limited Liability Company (LLC)
in the State of Florida on or about April 30, 2020. Prior to this the last annual
report for AAG filed with the State of Florida was on or about January 16, 2018.

First Home Bank and WALSH communicated regarding additional
documentation requests and clarification on documents submitted. On or about
September 1, 2020, WALSH withdrew his $858,209.00 PPP loan application for
AAG after inquiry by First Home Bank.

AIRSIGN INC

On or about April 9, 2020 -two days after making the fraudulent PPP loan
application for AIRSIGN INC to Chase Bank— WALSH, listed as the 100% owner

of AIRSIGN INC, fraudulently applied for a PPP loan with Newtek SBF. Various

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false documents in support of the loan were also submitted with the application.
Some of those false documents included:

a. A PPP loan application DocuSigned by WALSH falsely stating
that AIRSIGN INC had 32 employees with an average monthly payroll of
$316,360.00. These figures were different than those included in WALSH’s PPP
loan application for AIRSIGN INC to Chase Bank on April 7, 2020 (as noted
above). Based on this average monthly payroll figure reported by WALSH,
AIRSIGN INC requested a PPP loan in the amount of $790,900.00.

b. | WALSH submitted an IRS Form 940 for AIRSIGN INC for the
tax year 2019. This IRS Form 940 reported that the total payments to all
employees of AIRSIGN INC during the 2019 tax year was $956,870.92. This
form indicated that it was the final tax return for this business.

c. | WALSH provided what appears to be an internally-created
document titled “Airsign Payment Protection Plan Calculations.” This document
had a similar layout to that submitted for the above-described loan applications
(including employee name, job types, each employee’s average monthly payroll),
except it was broken into two calculations. One page referenced employees and
the other referenced contractors. The employee page falsely listed 41 employees
and the contractor page listed 28 contractors. The average monthly salary for the

41 employees was falsely listed as $236,437.26. On the employee sheet, numerous

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employees were falsely reported to have had an average monthly salary of
$8,333.00. The top of the page stated that any employee with a salary over
$100,000 was reduced to $100,000 (or $8,3333 per month) for the purpose of the
calculation. When the AIRSIGN INC and AAAP “Payment Protection Plan
Calculations” documents are compared side by side, the first 40 of the 41 listed
employees on the AIRSIGN INC calculation document are the same employees,
with the same job title and the same salaries listed on the AAAP document.

Based on false representations made in the PPP loan application and the
supporting documents, which included a gross overstatement of the number of
employees that AIRSIGN INC had and their average monthly salary, Newtek SBF
funded an SBA-backed loan te AIRSIGN INC in the amount of $790,900.00. The
associated lender fee for this loan was $23,727.00, paid by the SBA on or about
June 17, 2020, and the SBA made a guarantee purchase payment to Newtek SBF
for this loan on or about February 5, 2022.

AIRSIGN AIRSHIP LATIN AMERICA LLC (AALA)

On or about May 17, 2020, WALSH, listed as the 100% owner of AALA,
fraudulently applied for a PPP loan with Fountainhead SBF, LLC. Various false

documents in support of the loan were also submitted with the application. Some of

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those false documents included:
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a. A PPP loan application, which was digitally signed by WALSH,
falsely stating that AALA had 51 employees with an average monthly payroll of
$400,800.00. Based on this average monthly payroll figure reported by WALSH,
AALA requested a PPP loan in the amount of $1,002,000.00.

b. | WALSH submitted IRS Forms 941 for AALA for the 2019
Quarters 1, 2, 3 and 4 and the 2020 Quarter | tax periods. These IRS Forms 941
falsely reported that AALA had 49, 51, 48, 35 and 51 employees with total quarterly
wages of $756,861.42, $956,870.92, $523,345.74, $297,790.47 and $890,760.16,
respectively. These Forms 941 were all signed by WALSH. The 2019 Quarters 2,
3, and 4 and the 2020 Quarter 1 tax Form 941 submitted in the name of AALA falsely
reported the same wages for the same quarters as the 941’s submitted in the name of
AAAP. According to a search of records held by the Internal Revenue Service
(“IRS”), these tax return forms were never submitted to the IRS.

C. WALSH provided what appears to be an internally-created
document titled “Airsign Payment Protection Plan Calculations.” This document
falsely listed 51 employees by name, job type and their average monthly salaries.
The average monthly salary for the 51 employees was falsely listed as
$319,767.46;numerous employees had an average monthly salary of $8,333.00. The
top of the page stated that any employee with a salary over $100,000 was reduced to

$100,000 (or $8,3333 per month) for the purpose of the calculation. This is the same

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document with the same employees, job titles and salaries that was submitted to
justify the employee salaries for the ABC Celtic Bank PPP loan.

The Florida Department of Revenue (“FLDOR”) maintains records of wages
paid to employees by corporations in Florida. The FLDOR has no record of any
wages paid to employees of AALA. The Florida Division of Corporations website
(SUNBIZ) shows that AALA was reinstated as a Limited Liability Company (LLC)
in the State of Florida on or about April 30, 2020. Prior to this the last annual report
for AALA filed with the State of Florida was on or about January 29, 2018; thus,
AALA was not in business as of February 15, 2020.

Based on false representations made in the PPP loan application and the
supporting documents, which included a gross overstatement of the number of
employees that AALA had and their average monthly salary, Fountainhead SBF,
LLC funded an SBA-backed loan to AALA in the amount of $1,002,000.00.. The
associated lender fee for this loan was $30,060.00, paid by the SBA on or about June
26, 2020, and the SBA made a guarantee purchase payment for this loan to
Fountainhead SBF on or about January 6, 2022.

After Congress passed additional stimulus-funding bills, Fountainhead SBF
received a Second Draw PPP loan request from WALSH. Investigators did not
obtain a traditional loan application from Fountainhead SBF. Communications

appear to have occurred over Fountainhead SBF’s online portal and through email.

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A document named “Email Chain 5 — Fw_PPP Loan Verification_Additional
Information Required” contains an email chain in which on or about January 21,
2021, WALSH falsely indicated that he was using his quarter 2 2019 payroll figures
to justify a second PPP loan draw in the amount of $1.2 million dollars. During a
conversation in the Fountainhead online portal that occurred on or about January 23,
2021, WALSH stated that a loan in the amount of $592,743 was acceptable to him.
Numerous false documents were included with the Second Draw PPP loan request.
Some of these false documents included:

a. In addition to the IRS Forms 941 previously provided, IRS
Forms 941 for AALA for the 2020 Quarters 2, 3; and 4 were provided. These IRS
Forms 941 falsely reported that AALA had 40, 41, and 0 employees with total
quarterly wages of $386,153.73, $159,388.02 and $292,767.55, respectively. These
Forms 941 indicate they were prepared by Paychex. Paychex indicated to
investigators that it had no record of AALA being one of its clients. According to a
search of records held by the Internal Revenue Service (“IRS”), these tax return
forms were never submitted to the IRS.

b. — Also as part of the Second Draw, WALSH provided what
appears to be an internally-created document titled “Payment Protection Plan
Calculations.” This document was only the first page of the similar documents

which were submitted for the other loans; no employees were listed on this

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document. WALSH also included a document labeled “Airsign Airships Latin
America 2019 Q2 Payroll Ledger.” This ledger included the April, May and June
payroll. Although this document is in a different format, the June 2019 payroll
appears to include the same employees and wage amounts as previously submitted
for the first PPP loan.

After WALSH became aware of the ongoing federal investigation, he
withdrew this Second Draw PPP loan application for AALA.

AIRSIGN AIRSHIP REPAIR STATION LLC (AARS)

On or about April 22, 2020, WALSH, listed as the 100% owner of AARS,
fraudulently applied for a PPP loan with Harvest SBF, LLC. Various false
documents in support of the loan were also submitted with the application. Some of
those false documents included:

a. A PPP loan application signed by WALSH falsely stating that
AARS had 32 employees with an average monthly payroll of $415,000.00. Based
on this average monthly payroll figure reported by WALSH, AARS requested a PPP
loan in the amount of $1,038,808.00.

b. WALSH submitted a false IRS Form 940 to Harvest SBF but it
was not for AARS. This IRS Form 940 was the AIRSIGN INC Form 940 for the

tax year 2019 that was submitted to Newtek SBF in support of the $790,900.00

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AIRSIGN INC PPP loan.
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o. WALSH provided what appears to be an internally-created
document titled “Airsign Payment Protection Plan Calculations.” This document
falsely listed 51 employees by name, job type, and their average monthly salaries.
The average monthly salary for the 51 employees was falsely listed as
$319,767.46;numerous employees had an average monthly salary of $8,333.00. The
top of the page stated that any employee with a salary over $100,000 was reduced to
$100,000 (or $8,3333 per month) for the purpose of the calculation. This is the same
document with the same employees, job titles, and salaries that was submitted to
justify the employee salaries for the ABC Celtic Bank PPP loan in the amount of
$504,919.00 and the AALA Fountainhead PPP Loan in the amount $1,002,000.00.

The Florida Department of Revenue (“FLDOR”) maintains records of wages
paid to employees by corporations in Florida. The FLDOR has no record of any
wages paid to employees of AARS. The Florida Division of Corporations website
(SUNBIZ) shows that AARS was reinstated as a Limited Liability Company (LLC)
in the State of Florida on or about April 30, 2020. Prior to this the last annual report
for AARS filed with the State of Florida was on or about January 29, 2018; thus
AARS was not in business as of February 15, 2020.

Based on false representations made in the PPP loan application and the
supporting documents, which included a gross overstatement of the number of

employees that AARS had and their average monthly salary, Harvest SBF, LLC

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funded an SBA-backed loan to AARS in the amount of $1,038,808.00. The
associated lender fee for this loan was $31,164.24, paid by the SBA on or about June
19, 2020, and the SBA made a guarantee purchase payment for this loan to Harvest
SBF, LLC on or about December 15, 2021.

After Congress passed additional pandemic  stimulus-funding _ bills,
HARVEST SBF received a Second Draw PPP loan application from WALSH that
was signed on or about January 15, 2021. On this application WALSH falsely stated
that AARS now had 51 employees with an average monthly payroll of $415,524.00.
Based on this average monthly payroll figure reported by WALSH, AARS requested
another PPP loan in the amount of $1,038,808.00. Also as part of the Second Draw,
WALSH provided what appears to be an internally-created document titled
“Payment Protection Plan Calculations.” This document falsely listed 57 employees
by name, job type, and average monthly salaries (this form had a numbering error in
the left column which shows the number 49 at the last employee but after employee
number 51 the numbering reverts back to 48 instead of 52). The average monthly
salary for the 57 employees was falsely represented to be $369,765.46. This was the
same Payment Protection Plan Calculations document provided to support the

AAAP Celtic Bank PPP loan.

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AIRSIGN GROUP LLC

On or about April 14, 2020, WALSH, listed as the 100% owner of AIRSIGN
GROUP, fraudulent applied for a PPP loan with Renasant Bank. Various false
documents in support of the loan were also submitted with the application. Some of
those false documents included:

a. A PPP loan application signed by WALSH falsely stating that
AIRSIGN GROUP had an average monthly payroll of $229,200.00. Based on this
average monthly payroll figure falsely reported by WALSH, AIRSIGN GROUP
requested a PPP loan in the amount of $573,000.00.

b. | WALSH submitted a false IRS Form 940 to Renasant Bank but
it was not for AIRSIGN GROUP. This IRS Form 940 was the AIRSIGN INC Form
940 for the tax year 2019 that was submitted to Newtek SBF in support of the
$790,900.00 AIRSIGN INC PPP loan.

Ci WALSH provided what appears to be an internally-created
document titled “Airsign Payment Protection Plan Calculations.” This document
falsely listed AIRSIGN GROUP employees by name, job type, and average monthly
salaries. The average monthly salary for AIRSIGN GROUP employees was falsely
represented as being $172,531.13; numerous employees had an average monthly
salary of $8,333.00. The top of the page stated that any employee with a salary over

$100,000 was reduced to $100,000 (or $8,3333 per month) for the purpose of the

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calculation. When the AIRSIGN GROUP and AAAP “Payment Protection Plan
Calculations” documents are compared side-by-side, the first 32 listed employees on
the AIRSIGN GROUP calculation document are the same employees, with the same
job title and the same salaries listed on the AAAP document and similar documents
sent to the other lenders.

Based on false representations made in the PPP loan application and the
supporting documents, which included a gross overstatement of the number of
employees that AIRSIGN GROUP had and their average monthly salary, Renasant
Bank funded an SBA-backed loan to AIRSIGN GROUP in the amount of
$573,000.00. The associated lender fee for this loan was $17,190.00, paid by the
SBA on or about June 11, 2020, and the SBA made a guarantee purchase payment
for this loan to Reiasarit Bank on or about November 24, 2021.

OTHER ENTITIES

WALSH fraudulently applied for three more PPP loans for three additional
entities: AIRSIGN AIRSHIPS AMERICA LLC (AAA), AIRSIGN AIRSHIPS
TITLE (AAT) and EAGLERIDGE MANAGEMENT GROUP LLC DBA SHILOH
OIL COMPANY (SHILOH). The PPP loan application for AAA, made on or about
April 20, 2020, falsely represented that it had 35 current employees and an average
monthly payroll expense of $400,000.00. The PPP loan application for AAT, made

on or about April 22, 2020, falsely represented that it had 32 current employees and

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an average monthly payroll expense of $136,856.00. The PPP loan application for
SHILOH, made on or about July 17, 2020, falsely represented that it had 12 current
employees and an average monthly payroll expense of $72,657.00.

The PPP loan application submissions for AAA and AAT contained similar
discrepancies in the supporting documents as the other loan applications submitted
to lenders when compared information provided to the IRS and the FL DOR. More
importantly both AAA and AAT contained similar “Payment Protection Plan
Calculations” documents listing the same employees as the other WALSH entities.
The SHILOH and AAA PPP loans were ultimately never funded. AAT received a

PPP loan in the amount of $342,140.00.

x * *
WALSH fraudulently attempted to obtain PPP loans totaling $11,950,399.00;

however, $4,996,167.00 was funded based on WALSH’s fraudulent PPP loan

applications.

FRAUDULENT ECONOMIC INJURY DISASTER
LOAN APPLICATIONS

In addition to the above-listed PPP loans, WALSH also fraudulently applied
for and received Economic Injury Disaster Loans (“EIDLs”) from the SBA for the
following entities, based on applications submitted with the following false

representations with respect to each business entity’s number of employees and the

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entities’ gross revenue for the preceding 12 months (which WALSH grossly

overstated in his fraudulent EIDL applications):

Gross
Revenue for .
wae Business Name Loan Amount E a the ak
mproyees Preceding 12
Months
EAGLE RIDGE
MANAGEMENT
7839728209 GROUP LLC (D/B/A $150,000.00 1] $3,800,000.00 WY
SHILOH OIL
COMPANY)
3427027210 AIRSIGN GROUP $500,000.00 6 $2,500,000.00 FL
AIRSIGN AIRSHIP
5377437901 REPAIR STATION $23,000.00 Z $200,000.00 ™
LLC
. AIRSIGN AIRSHIPS
5050907909 LATIN AMERICA LLC $90,000.00 ] $300,000.00 FL
3316377207 AIRSIGN INC $500,000.00 35 $8,003,195.00 FL
ARRSIGN AIRSHIP
7289637901 GROUP LLC $38,000.00 2 $300,000.00 FL
WALSH FAMILY
3422677207 LAND CORP $80,000.00 1 $380,000.00 FL
AERO CAPITAL LLC
7840198202 (D/B/A AEROSERVE) $95,000.00 5 $400,000.00 FL
AIRSIGN AIRSHIPS
5361497903 AMERICA LLC $150,000.00 22 $7,200,000.00 FL
AIRSIGN AIRSHIPS
9
5260267905 TITLE LLC $73,000.00 2 $300,000.00 FL
AMERICAN BLIMP +
7928127909 COMPANY LLC $150,000.00 39 TN
AIRSIGN AIRSHIPS
5117847910 ASIA PACIFICLLC $73,000.00 2 $300,000.00 FL
$1,922,000.00

Further, nine (9) fraudulent EIDL applications were submitted to the SBA in

the name of WALSH’S wife, HANNAH. WALSH fraudulently applied for these

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loans in the name of, and using the personal identification information of, his wife,
HANNAH, without her knowledge or consent. Six of those nine EIDLs were funded

by the SBA, based on false representations in the applications, as noted below:

Gross
Revenue for
Loan Loan the Preceding # of
Number Business: Trade Name Amount 12 Months | Employees

PALMETTO SPRINGS

8063218205 PLAZA $150,000.00 | $510,000.00 2

8972328200 CARTER OIL $150,000.00 | $800,000.00 6

8098918203 | AIRSIGN-MZ3A LLC | $150,000.00 | $620,000.00 1

8970188202 | MARIENA OIL TRUST | $150,000.00 | $439,000.00 1

9364768204 DAVIS OIL $150,000.00 | $650,000.00 l
SKY WRITE AERIAL

9035598200 ADVERTISING $150,000.00 a512 000.00 2

AIRSIGN - ABC

HOLDINGS go.d0__ | S488:000:00 2

NORTHCUTT OIL $0.00 5

BOND OIL & GAS $0.00 — 1

$900,000.00

WALSH fraudulently obtained EIDL loans, in his name and in his wife’s

name, totaling $2,822,000.00.

* * *

In total, WALSH fraudulently attempted to obtain PPP loans and EIDLs in
the amount of $14,772,399.00; however, $7,818,167.00 was funded based on
WALSH’s fraudulent PPP loan and EIDL applications.

MONEY LAUNDERING TRANSACTIONS

The following chart summarizes the monetary transactions involving at least

$10,000 of fraudulently-obtained loan proceeds obtained through the_wire fraud

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scheme described above, each of which would constitute a separate charge pursuant

to 18 U.S.C. § 1957:

ee
| Posted
Oates] ee eee
anoosg |  “Dlackbumtdlatkoum Attorneys $90,260.89 Purchase Sweetheart Island
Jacksonville FL
DRAWBRIDGE INVESTMENTS LLC Deposit for Drawbridge $2,M Deal Per
TRS LAKEWOOD NJ 08701 S160,000.00 Highscore Et Al
17370 NE 75th St - Loan Mortgage
5/18/2020 WBL SPO 1 LLC (_###2583) $230,000.00 Payoff - Levy Bk 1541 PG 982
17370 NE 75th St - Loan Mortgage
5/18/2020 WBL SPO I LLC (_###2583) $25,000.00 Payoff - - Levy Bk 1541 PG 982
5/18/2020 Ocala Development (_######5880) $148,154.64 Payoff NE 120th Ave, Bronson, FL
DBI 12 NW 5TH PLACE LLC
5/19/2020 LAKEWOOD NJ $55,000.00 Rent Payment
SUPERIOR LOAN SERVICING 2 Payoff 17370 NE 75th St, Williston
2
arei2020 TRUST I CANOGA PARK CA 91303 $272,455.93 (Superior Loan)
Orig CO Name:Select Portfolio Orig Payments for 12070 NE 20th St,
9/27/2020 1D:1870465626 $10,015.00 Williston Per SPS AS7
DBI 12 NW 5TH PLACE LLC th
5/29/2020 LAKEWOOD NI $112,500.00 Deposit for Buy Back 12 NW 5
6/10/2020 SCG Lending LLC (_ ####8977) $175,000.00 Loan Payoff
DBI 12 NW 5TH PLACE LLC
6/15/2020 LAKEWOOD NJ $50,000.00 Rent Payment
6/18/2020 | Blakewood Mortgage (_ ########0710) | $111,294.92 2451 NE 114th Ave Mortgage Payoff
Orig CO Name:Select Portfolio Orig Payments for 12070 NE 20th St,
Gieue0e0 ID:1870465626 $10,983.45 Williston
ESTACADO ENERGY LLC
6/25/2020 RICHARDSON TX $275,000.00 Purchase Bond Oil Leases in TX
M J PRODUCTION COMPANY LLC : : .
6/26/2020 AUSTWELL TX $165,000.00 Oilfield in Caldwell TX for Shiloh
FIRST AMERICAN TLE Down Payment for Lava Mountain
7/6/2020 | INSURANCE a sap ANA $100,000.00 Lodge Property in Jackson Hole
Deposit Purchase of building from DBI
7/8/2020 HIGHSCORE CAPITAL LLC $300,000.00 12 NW STH
719/2020| | HIGHSCORE CAPITAL LLC $300,000.00 | Deposit Purchase of ourtiing from DBI
7/9/2020 TCS PETROLEUM CO., LLC $290,000.00 Wells in TX

? This transaction is alleged in Count Two of the Information.

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9/9/2020 W38 a LLG = CHASE $55,000.00 W3B Investments
9/9/2020 W3B EEA LLC - CHASE $15,000.00
9/10/2020 W3B INVESTS LLC - CHASE $100,000.00
9/11/2020 W3B ee LLC - CHASE $50,000.00
BIG COUNTRY TITLE EASTLAND Shiloh Oil Purchase 7005 HWY 183,
11/10/2020 TX 76448 $206,612.15 Cisco TX
TOTAL | $3.247,276.58
ELEMENTS OF THE OFFENSE

i. Wire Fraud - 18 U.S.C. § 1343 (Count 1)

Elements to be proven beyond a reasonable doubt:

(1) the Defendant knowingly devised or participated in a scheme to defraud, or
to obtain money or property by using false pretenses, representations, or
promises;

(2) the false pretenses, representations, or promises were about a material fact;

(3) the Defendant acted with the intent to defraud; and

(4) the Defendant transmitted or caused to be transmitted by wire some
communication in interstate commerce to help carry out the scheme to
defraud.

11th Circuit Pattern Jury Instructions § O51.

ii. Money Laundering - 18 U.S.C. § 1957 (Count 2)
Elements to be proven beyond a reasonable doubt:

(1)the Defendant knowingly engaged or attempted to engage in a monetary
transaction;

(2) the Defendant knew the transaction involved property or funds that were the
proceeds of some criminal activity;

(3) the property had a value of more than $10,000;
(4) the property was in fact proceeds of Wire Fraud; and

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(5) the transaction took place in the United States.

11th Circuit Pattern Jury Instructions § 074.6.

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Nicole Waid Justin M. Keen you
Attorney for Defendant Florida Bar No. 021034
Assistant United States Attorney

08/25/22 Northern District of Florida
Date 111 North Adams Street, 4" Floor

<Segeo Tallahassee, FL 32301

LES 850-942-8430
Patrick Parker Walsh ™ Justin.Keen@usdoj.gov
Defendant ;
B-SS- ea 3lro(2022

Date Date

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